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                      Exhibit B
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     Federal                                          FMC Rochester
     Bl!reau of                                      2110 E. Center Street
     Prisons                                         Rochester, MN 55904
                                                        507-287-0674
                                                                                             *** Sensitive But Unclassified ***
Name FERNANDEZ, JUAN                       Facility FCI Phoenix                           Collected 09/04/2019 09:55,
Reg # 66884-112                            Order Unit P03-177L                            09/04/2019 13:22
DOB        /1983                           Provider Wayne Weissinger, NP                  Received 09/05/2019 08:19
Sex   M                                                                                   Reported 09/06/2019 10:47
                                                                                          LIS ID     225192543


                                                      CHEMISTRY
Sodium                                                  138                                136-146                  mmol/L
Potassium                          H                     5.3                                3.6-4.9                 mmol/L
Chloride                                                103                                98-108                   mmol/L
CO2                                L                     21                                 22-29                   mmol/L
BUN                                H                     35                                  7-24                   mg/dL
Creatinine                         H                    3.02                              0.60-1.20                 mg/dL
eGFR (IDMS)                                              24
  GFR units measured as mL/min/1.73m^2.
  If African American multiply by 1.210.
  A calculated GFR <60 suggests chronic kidney disease if found over a 3 month period.
Calcium                                                 9.0                               8.6-10.4                  mg/dL
Glucose                            H                    270                                70-110                   mg/dL
AST                                                      20                                 10-37                    U/L
ALT                                                      14                                  8-40                    U/L
Alkaline Phosphatase                                    105                                49-126                    U/L
Bilirubin, Total                                         0.3                                0.1-1.1                 mg/dL
Total Protein                                            7.0                                6.3-8.3                 g/dL
Albumin                                                  3.7                                3.5-5.0                 g/dL
Globulin                                                 3.3                                2.0-3.7                 g/dL
Alb/Glob Ratio                                          1.12                              1.00-2.30
Anion Gap                                               14.0                               9.0-19.0
BUN/Creat Ratio                                         11.6                               5.0-30.0
Phosphorus                                               3.1                               2.5-4.5                  mg/dL
Magnesium                                                1.9                               1.7-2.1                  mg/dL

                                                SPECIAL CHEMISTRY
PSA, Total                                              0.33                                <2.00                   ng/mL
  The minimal reporting value is 0.1 ng/mL. Values >0.2 ng/mL are considered evidence of biochemical recurrence of cancer in
  men after prostatectomy.


                                                    HEMATOLOGY
WBC                                                      7.8                               3.5-10.5                  K/uL
RBC                                                     4.57                              4.10-6.00                  M/uL
Hemoglobin                                              12.7                              12.0-17.5                  g/dL
Hematocrit                         L                    38.2                              38.8-50.0                   %
MCV                                                     83.6                             76.0-100.0                   fL
MCH                                                     27.8                              27.0-33.0                   pg


   FLAG LEGEND           L=Low L!=Low Critical       H=High H!=High Critical       A=Abnormal A! =Abnormal Critical
                                                                                                  Page 1 of 2

Exhibit B, p. 1 of 7                                                                                 BOP-Fernandez000342
            Case 8:14-cr-00008-JLS Document 79-2 Filed 08/31/20 Page 3 of 8 Page ID #:548
                                                        Bureau of Prisons
                                                         Health Services
                                                        Clinical Encounter
Inmate Name: FERNANDEZ, JUAN ALBERTO                                                                      Reg #: 66884-112
Date of Birth:      /1983                                   Sex:      M     Race: WHITE                   Facility: PHX
Encounter Date: 10/03/2019 10:15                            Provider: Hatfield, Lesley PA-C               Unit:     P03


Chronic Care - Advanced Practice Provider Follow Up encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                  Provider: Hatfield, Lesley PA-C
       Chief Complaint: DIABETIC
       Subjective: Mr. Fernandez is here for his scheduled CCC F/U today.

                         He has DM, HTN, HLP, CKD Stage 4 with most recent Cr and eGFR checked on labs back in
                         JUNE 2019. At that time Cr was > 3.0 / 3.01 on 6/17/19 and eGFR only 24. Updated labs
                         show Cr 3.02 and eGFR only 24 (<30) again.

                         He says he has been Type 2 diabetic since about the age of 18 y/o. He is 35 now. He has
                         been on insulin for the past 3 years or so.

                         He knows his medications and what they are used for and is complaint with all of them. He is
                         metformin still with a steadily rising Cr and decreased GFR.

                         His Hgb A1C was 8.6 most recently on labs from 9/4/19. Before this it was 8.3 (3/19/19) and
                         8.8 (11/2018)

                         His Cr was 2.51 back in Nov. 2018 as well
       Pain:             Not Applicable
Seen for clinic(s): Diabetes, Endocrine/Lipid, Hypertension

OBJECTIVE:
Temperature:
     Date              Time            Fahrenheit     Celsius Location                    Provider
     10/03/2019        10:14 PHX             98.0        36.7 Oral                        Hatfield, Lesley PA-C

Pulse:
     Date           Time               Rate Per Minute        Location                    Rhythm      Provider
     10/03/2019 10:14 PHX                             77                                              Hatfield, Lesley PA-C
Respirations:
     Date                  Time                Rate Per Minute Provider
     10/03/2019            10:14 PHX                           16 Hatfield, Lesley PA-C
Blood Pressure:
     Date       Time                Value        Location          Position             Cuff Size     Provider
     10/03/2019 10:16 PHX           143/90       Left Arm          Sitting              Adult-large   Hatfield, Lesley PA-C
     10/03/2019 10:14 PHX           153/94       Left Arm          Sitting              Adult-large   Hatfield, Lesley PA-C
Blood Glucose:
     Date               Time            Value (mg/dl)       Type                        Regular Insulin     Provider
     10/02/2019         16:50 PHX       245                 Unknown                                         Ramirez, M. EMT/P
     09/30/2019         16:47 PHX       187                 Unknown                                         Blanco, A. EMT-P
     09/29/2019         16:58 PHX       146                 Unknown                                         Blanco, A. EMT-P

Generated 10/04/2019 14:24 by Hatfield, Lesley PA-C           Bureau of Prisons - PHX                                        Page 1 of 5
    Exhibit B, p. 2 of 7                                                                                       BOP-Fernandez000170
          Case 8:14-cr-00008-JLS Document 79-2 Filed 08/31/20 Page 4 of 8 Page ID #:549

                                          PATIENT INFORMATION              REPORT STATUS     Final
                                          FERNANDEZ,JUAN
Sonora Quest Laboratories, LLC                                             ORDERING PHYSICIAN
                                          DOB:      /1983       Age: 36Y   Ford,Isaiah L
                                          SEX: M
COLLECTED:     03/07/2020        00:00
                                          ID: 66884-112
REPORTED:      03/08/2020        03:58

  Test Name                              In Range       Out of Range       Reference Range                   Lab

  CBC,CMP,LIPID,TSH,UA (Continued)
     MCH                                 27.2                              27.0 - 34.0 pg
     MCHC                                31.6                              31.0 - 37.0 g/dL
     Platelet Count                      254                               130 - 450 k/mm3
     RDW(sd)                             43.6                              38.0 - 49.0 fL
     RDW(cv)                             13.9                              11.0 - 15.0 %
     MPV                                 10.8                              7.5 - 14.0 fL
     Segmented Neutrophils               56.3                              %
                                         Automated Diff
     Lymphocytes                         31.1                              %
     Monocytes                           8.0                               %
     Eosinophils                         3.6                               %
     Basophils                           0.6                               %
     Absolute Neutrophil                 4.57                              1.60   -   9.30   k/uL
     Absolute Lymphocyte                 2.52                              0.60   -   5.50   k/uL
     Absolute Monocyte                   0.65                              0.10   -   1.60   k/uL
     Absolute Eosinophil                 0.29                              0.00   -   0.70   k/uL
     Absolute Basophil                   0.05                              0.00   -   0.20   k/uL
     Immature Granulocytes               0.4                               %
     Absolute Immature Granulocytes
                                         0.03                           0.00 - 0.10 k/uL
     NRBC RE, Nucleated Red Blood Cell Percent
                                         0.0                            0.0 - 1.0 %
     TSH, High Sensitivity                            5.19 H            0.45 - 4.50 mU/L
     Glucose                                          239 H             65 - 99 mg/dL
                                         Glucose reference range reflects fasting state.
     Urea Nitrogen (BUN)                              35 H              8 - 25 mg/dL
     Creatinine                                       4.47 H            0.60 - 1.50 mg/dL
     GFR Estimated (Non-African American)             16 L              >=60 mL/min/1.73m2
     GFR Estimated (African American)                 18 L              >=60 mL/min/1.73m2
     BUN/Creatinine Ratio                             7.8 L             10.0 - 28.0
     Sodium                              141                            134 - 147 mmol/L
     Potassium                           4.5                            3.6 - 5.3 mmol/L
     Chloride                            108                            95 - 108 mmol/L
     Carbon Dioxide (CO2)                             17 L              19 - 31 mmol/L
     Anion Gap                           16                             4 - 18
     Protein, Total                      6.2                            6.0 - 8.0 g/dL
     Albumin                                          3.1 L             3.6 - 5.1 g/dL
     Globulin                            3.1                            1.9 - 3.7 g/dL
     Albumin/Globulin Ratio              1.0                            1.0 - 2.5
     Calcium                                          8.6 L             8.7 - 10.4 mg/dL
     Alkaline Phosphatase                128                            40 - 140 IU/L
     Alanine Aminotransferase            16                             5 - 60 IU/L
     Aspartate Aminotransferase          26                             10 - 50 IU/L
     Bilirubin, Total                    0.2                            0.2 - 1.3 mg/dL
     Cholesterol                         174                            <=199 mg/dL
     Triglyceride                        131                            <=149 mg/dL
     Cholesterol/HDL Ratio               3.2                            <=4.9
     HDL Cholesterol                     55                             >=40 mg/dL
     Non-HDL Cholesterol                 119                            <=129 mg/dL
                                         Note: new reference range effective 2/17/20




FERNANDEZ,JUAN - 791725003582                                              Page 2 - Continued on Page 3

   Exhibit B, p. 3 of 7                                                                BOP-Fernandez000143
         Case 8:14-cr-00008-JLS Document 79-2 Filed 08/31/20 Page 5 of 8 Page ID #:550


                                                                                                                                                 (i)
  FERNANDEZ,JUAN A                                                                                                                               --     QuestQuanum·


  DOB                     Age: 36Y   Specimen: 79172-A02018                 Collected: 06/24/2020 12:00         Client #: 79172
  Sex: M                  Fasting:   Requisition: A02018                    Received: 06/24/2020 23:59          Unclear,Ordering Provider
  Phone:                             Lab Reference ID: A02018               Reported: 06/25/2020 06:26          FCI Phoenix Health Services
  Patient ID: 66884-112              Report Status: FINAL / SEE REPORT                                          Attn Jennifer Reed Phx Busines
                                                                                                                37900 N 45th Ave
                                                                                                                Phoenix, AZ 85086
                                                                                                                Phone: (623) 465-9757
                                                                                                                Fax: (623) 465-5116


  Fasting: Unknown

        CBC w/ Differential, w/ Platelet                           FINAL
                                                                                                                                                                  Lab: PAZ

   Analyte                                                                                         Value

   A   WBC (6690-2)                                                                                21.3 H           Reference Range: 4.0 - 11.0 k/mm3                 C)
                                                                                                                                                                      FINAL



   RBC (789-8)                                                                                        4.51          Reference Range: 4.30 - 6.00 m/mm3                C)
                                                                                                                                                                      FINAL



   A   Hemoglobin (718-7)                                                                          12.2 L           Reference Range: 13.0 - 18.0 g/dL                 C)
                                                                                                                                                                      FINAL



   A   Hematocrit (4544-3)                                                                         38.2 L           Reference Range: 40.0 - 53.0 %                    C)
                                                                                                                                                                      FINAL



   MCV (787-2)                                                                                        84.7          Reference Range: 78.0 - 100.0 fL                  C)
                                                                                                                                                                      FINAL


   MCH (785-6)                                                                                        27.1          Reference Range: 27.0 - 34.0 pg                   C)
                                                                                                                                                                      FINAL


   MCHC (786-4)                                                                                       31.9          Reference Range: 31.0 - 37.0 g/dL                 C)
                                                                                                                                                                      FINAL


   Platelet Count (777-3)                                                                             221           Reference Range: 130 - 450 k/mm3                  C)
                                                                                                                                                                      FINAL


   RDW(sd) (21000-5)                                                                                  43.5          Reference Range: 38.0 - 49.0 fL                   C)
                                                                                                                                                                      FINAL


   RDW(cv) (788-0)                                                                                    14.2          Reference Range: 11.0 - 15.0 %                    C)
                                                                                                                                                                      FINAL


   MPV (776-5)                                                                                        11.2          Reference Range: 7.5 - 14.0 fL                    C)
                                                                                                                                                                      FINAL


   Segmented Neutrophils (770-8)                                                                      88.3          %                                                 C)
                                                                                                                                                                      FINAL

   Automated Diff

   Lymphocytes (736-9)                                                                                    5.5       %                                                 C)
                                                                                                                                                                      FINAL


   Monocytes (5905-5)                                                                                     4.9       %                                                 C)
                                                                                                                                                                      FINAL


   Eosinophils (713-8)                                                                                    0.0       %                                                 C)
                                                                                                                                                                      FINAL


   Basophils (706-2)                                                                                      0.2       %                                                 C)
                                                                                                                                                                      FINAL



   A   Absolute Neutrophil (751-8)                                                               18.84 H            Reference Range: 1.60 - 9.30 k/uL                 C)
                                                                                                                                                                      FINAL



   Absolute Lymphocyte (731-0)                                                                        1.17          Reference Range: 0.60 - 5.50 k/uL                 C)
                                                                                                                                                                      FINAL


   Absolute Monocyte (742-7)                                                                          1.04          Reference Range: 0.10 - 1.60 k/uL                 C)
                                                                                                                                                                      FINAL


   Absolute Eosinophil (711-2)                                                                        0.00          Reference Range: 0.00 - 0.70 k/uL                 C)
                                                                                                                                                                      FINAL


   Absolute Basophil (704-7)                                                                          0.04          Reference Range: 0.00 - 0.20 k/uL                 C)
                                                                                                                                                                      FINAL


   Immature Granulocytes (71695-1)                                                                        1.1       %                                                 C)
                                                                                                                                                                      FINAL



   A   Absolute Immature Granulocytes (53115-2)                                                    0.24 H           Reference Range: 0.00 - 0.10 k/uL                 C)
                                                                                                                                                                      FINAL



   NRBC RE, Nucleated Red Blood Cell Percent (772-4)                                                      0.0       Reference Range: 0.0 - 1.0 %                      C)
                                                                                                                                                                      FINAL




        Comprehensive Metabolic Panel                                    FINAL
                                                                                                                                                                  Lab: PAZ

   Analyte                                                                                         Value

   A Glucose (2345-7)                                                                              218 H            Reference Range: 65 - 99 mg/dL                    C)
                                                                                                                                                                      FINAL

   Glucose reference range reflects fasting state.

  FERNANDEZ,JUAN (79172-A02018)                                                             1/2                                                                        6/25/20



Exhibit B, p. 4 of 7                                                                                                                                   BOP-Fernandez000130
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   A    Urea Nitrogen (BUN) (3094-0)                                                                  47 H       Reference Range: 8 - 25 mg/dL                                     C)
                                                                                                                                                                                   FINAL



   A    Creatinine (2160-0)                                                                         6.15 H       Reference Range: 0.60 - 1.50 mg/dL                                C)
                                                                                                                                                                                   FINAL



   A    GFR Estimated (Non-African American) (88294-4)                                                11 L       Reference Range: >=60 mL/min/1.73m2                               C)
                                                                                                                                                                                   FINAL



   A    GFR Estimated (African American) (88293-6)                                                    12 L       Reference Range: >=60 mL/min/1.73m2                               C)
                                                                                                                                                                                   FINAL



   A    BUN/Creatinine Ratio (3097-3)                                                                7.6 L       Reference Range: 10.0 - 28.0                                      C)
                                                                                                                                                                                   FINAL



   Sodium (2951-2)                                                                                     138       Reference Range: 134 - 147 mmol/L                                 C)
                                                                                                                                                                                   FINAL


   Potassium (2823-3)                                                                                   4.0      Reference Range: 3.6 - 5.3 mmol/L                                 C)
                                                                                                                                                                                   FINAL


   Chloride (2075-0)                                                                                   104       Reference Range: 95 - 108 mmol/L                                  C)
                                                                                                                                                                                   FINAL


   Carbon Dioxide (CO2) (2028-9)                                                                         23      Reference Range: 19 - 31 mmol/L                                   C)
                                                                                                                                                                                   FINAL


   Anion Gap (10466-1)                                                                                   11      Reference Range: 4 - 18                                           C)
                                                                                                                                                                                   FINAL



   A    Protein, Total (2885-2)                                                                      5.8 L       Reference Range: 6.0 - 8.0 g/dL                                   C)
                                                                                                                                                                                   FINAL



   A    Albumin (1751-7)                                                                             3.1 L       Reference Range: 3.6 - 5.1 g/dL                                   C)
                                                                                                                                                                                   FINAL



   Globulin (2336-6)                                                                                    2.7      Reference Range: 1.9 - 3.7 g/dL                                   C)
                                                                                                                                                                                   FINAL


   Albumin/Globulin Ratio (1759-0)                                                                      1.2      Reference Range: 1.0 - 2.5                                        C)
                                                                                                                                                                                   FINAL



   A    Calcium (17861-6)                                                                            8.0 L       Reference Range: 8.7 - 10.4 mg/dL                                 C)
                                                                                                                                                                                   FINAL



   Alkaline Phosphatase (6768-6)                                                                         68      Reference Range: 40 - 140 IU/L                                    C)
                                                                                                                                                                                   FINAL


   Alanine Aminotransferase (1742-6)                                                                     16      Reference Range: 5 - 60 IU/L                                      C)
                                                                                                                                                                                   FINAL


   Aspartate Aminotransferase (1920-8)                                                                   20      Reference Range: 10 - 50 IU/L                                     C)
                                                                                                                                                                                   FINAL


   Bilirubin, Total (1975-2)                                                                            0.3      Reference Range: 0.2 - 1.3 mg/dL                                  C)
                                                                                                                                                                                   FINAL




  Phosphorus (Inorganic)                             FINAL                                                                                                                   Lab: PAZ

   Analyte                                                                                          Value

   Phosphorus (Inorganic) (2777-1)                                                                      2.6      Reference Range: 2.4 - 4.8 mg/dL                                  C)
                                                                                                                                                                                   FINAL




  TSH, High Sensitivity                        C
                                               FINAL)
                                                                                                                                                                             Lab: PAZ

   Analyte                                                                                          Value

   TSH, High Sensitivity (3016-3)                                                                      1.78      Reference Range: 0.45 - 4.50 mU/L                                 C)
                                                                                                                                                                                   FINAL




  Performing Sites
  PAZ Sonora Quest Laboratories, 1255 W Washington St, Tempe, AZ 85281

  Key
       Priority Out of Range        A   Out of Range          PEND   Pending Result         0 PRE   Preliminary Result          FINAL   Final Result     0 RE   Reissued Result




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  FERNANDEZ,JUAN (79172-A02018)                                                               2/2                                                                                   6/25/20



Exhibit B, p. 5 of 7                                                                                                                                     BOP-Fernandez000131
            Case 8:14-cr-00008-JLS Document 79-2 Filed 08/31/20 Page 7 of 8 Page ID #:552
                                                     Bureau of Prisons
                                                      Health Services
                                                     Clinical Encounter
Inmate Name: FERNANDEZ, JUAN ALBERTO                                                          Reg #: 66884-112
Date of Birth:      /1983                             Sex:      M   Race: WHITE               Facility: PHX
Encounter Date: 06/28/2020 11:26                      Provider: Weissinger, Wayne NP          Unit:     P02


Review Note - Follow up encounter performed at Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Weissinger, Wayne NP
       Chief Complaint: NEPHROLOGY
       Subjective:   Received labs on inmate. He is known progressive CKD.
                     -CKD IV. Unfortunatly his GFR is <15. Creat 6.1. He is now in the ESRD range. Fortunately,
                     he continues to be free of uremic s/s.
                     No acute indications for HD at this time.
                     Continue to avoid potential nephrotoxic exposure.
                     Renal dose meds as appropriate for CKD IV.
                     Needs to be transferred ASAP to a medical center or institution capable of providing HD.
                     Will need to follow closely for s/s of uremia or other indications to start HD.

                        -Metabolic Bone Disease/hyperparathyroidism of CKD: Phos and Ca are reasonable and iPTH
                        in Mar 2020 269. Currently on Vit D analog.

                        -Metabolic Acidosis: stable on oral NaBicarb.

                        -Electrolyte Abnormalities: HyperK well controlled since being off ACEi and 3x/week
                        Kayexalate dosing. Other lyte stable.

                        -Not anemic at this point.

                        -Elevated WBC: Likely related to recent R lower ext cellulitis. Recently dosed with IM
                        Rocephin and currently on Doxy. The erythema and pain has resolved.

                        -Proteinuria: Had to be taken off ACEi/ARB due to persistant hyperkalemia. P/C ration 11.2 on
                        Mar 2020 labs. Serum albumin is reflecting his protein spilling and likely contributing to his
                        edema (nephrotic)

                        -DM II with poor control.

                        -TSH recheck is WNL.

                        -Needs referral to Vasc Surg for AVF consideration/placement. Unfortunately, this will likely
                        not happen given current COVID related issues with surg and sub-spec referrals.
       Pain:            No

OBJECTIVE:
Respirations:
     Date                 Time              Rate Per Minute Provider
     06/28/2020           11:53 PHX                      14 Weissinger, Wayne NP

Exam:
   General
      Affect
           Yes: Pleasant, Cooperative
         Appearance
            Yes: Appears Well, Alert and Oriented x 3
Generated 06/28/2020 12:00 by Weissinger, Wayne NP      Bureau of Prisons - PHX                                    Page 1 of 3
    Exhibit B, p. 6 of 7                                                                             BOP-Fernandez000007
            Case 8:14-cr-00008-JLS Document 79-2 Filed 08/31/20 Page 8 of 8 Page ID #:553
Inmate Name: FERNANDEZ, JUAN ALBERTO                                                            Reg #: 66884-112
Date of Birth:      /1983                              Sex:      M   Race: WHITE                Facility: PHX
Encounter Date: 06/28/2020 11:26                       Provider: Weissinger, Wayne NP           Unit:     P02

Exam:
   Pulmonary
      Auscultation
          Yes: Clear to Auscultation
    Cardiovascular
        Auscultation
           Yes: Regular Rate and Rhythm (RRR), Normal S1 and S2
    Peripheral Vascular
        General
            Yes: Pitting Edema

ASSESSMENT:

Diabetes, type II with renal manifestations, 250.40 - Current
Hypertension, Benign Essential, 401.1 - Current
Morbid obesity, 278.01 - Current
Cellulitis, unspecified, L0390 - Resolved
Chronic kidney disease, stage 4 (severe), N184 - Current
Hyperkalemia, E875 - Current
Secondary hyperparathyroidism, not elsewhere classified, E211 - Current

PLAN:
New Medication Orders:
Rx#          Medication                                                                                  Order Date
             hydrALAZINE Tablet                                                                          06/28/2020 11:26
                  Prescriber Order:             100mg Orally - three times a day x 180 day(s)
                       Indication: Hypertension, Benign Essential
Discontinued Medication Orders:
Rx#          Medication                                                                                  Order Date
187326-PHX hydrALAZINE 50 MG Tab                                                                         06/28/2020 11:26
                  Prescriber Order: Take one tablet (50 MG) by mouth three times daily
                       Discontinue Type:        When Pharmacy Processes
                       Discontinue Reason: new order written
                       Indication:
New Laboratory Requests:
   Details                                       Frequency                         Due Date                Priority
   Lab Tests-H-Hemoglobin A1C                    One Time                          07/02/2020 00:00        Routine
   Lab Tests-C-CBC
   Lab Tests-C-Comprehensive Metabolic Profile
   (CMP)
   Lab Tests-P-Parathyroid Hormone Intact (PTH)
       Labs requested to be reviewed by:        Ford, Isaiah MD/CD

Disposition:
    Follow-up at Sick Call as Needed
    Follow-up at Chronic Care Clinic as Needed


Generated 06/28/2020 12:00 by Weissinger, Wayne NP       Bureau of Prisons - PHX                                    Page 2 of 3
    Exhibit B, p. 7 of 7                                                                              BOP-Fernandez000008
